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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 STATE OF TEXAS, STATE OF                         §
 LOUISIANA, STATE OF                              §
 MISSISSIPPI, STATE OF UTAH,                      §
 JEFFREY W. TORMEY, GUN                           §
 OWNERS OF AMERICA, INC., GUN                     §
 OWNERS FOUNDATION,                               §
 TENNESSEE FIREARMS                               §
 ASSOCIATION, and VIRGINIA                        §
 CITIZENS DEFENSE LEAGUE,                         §
      Plaintiffs,                                 §
 v.                                               §
                                                          CIVIL ACTION NO.2:24-CV-00089-Z
                                                  §
 BUREAU OF ALCOHOL, TOBACCO,                      §
 FIREARMS AND EXPLOSIVES,                         §
 UNITED STATES DEPARTMENT OF                      §
 JUSTICE, MERRICK GARLAND, in his                 §
 official capacity as Attorney General of         §
 the United States, and STEVEN M.                 §
 DETTELBACH, in his official capacity             §
 as Director of ATF,                              §
                                                  §
        Defendants.
                                                  §

                            PLAINTIFFS' MOTION FOR LEAVE
                                 TO FILE OUT OF TIME

       Plaintiffs respectfully request that the Court grant them leave to file, nunc pro tunc, their

Reply in Support of the Motion for Temporary Restraining Order and/or Preliminary Injunction.

(Dkt. No. 37). In support of their request, Plaintiffs show:

       1. Because of Final Rule’s abbreviated effective date, the Parties agreed to an expedited

           briefing schedule, which the Court adopted. See Dkt No. 18. Under this schedule,

           Plaintiffs’ reply brief was due at 5:00 pm May 15, 2024—exactly 24 hours after

           Defendants submitted their response. .



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     2. Plaintiffs worked diligently to prepare, within the short turnaround, their 24-page Reply

        in Support of the Motion for Temporary Restraining Order and/or Preliminary

        Injunction. However, due to disruptions related to counsel traveling to Amarillo,

        Texas, for the May 16, 2024 hearing, the brief was filed at 5:33 pm.

     3. Plaintiffs do not seek this extension of time for the purposes of delay. The reply was

        filed only 30 minutes after the deadline, so the Parties should still have time to read and

        prepare any arguments in advance of the hearing.

     4. None of the Parties are prejudiced by the delay. See Pioneer Inv. Services Co. v.

        Brunswick Associates Ltd. P’ship, 507 U.S. 380, 397 (1993) (“[T]he lack of any

        prejudice to [other parties] or to the interests of efficient judicial administration,

        combined with the good faith of respondents and their counsel, weigh strongly in favor

        of permitting the tardy claim.”).




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Date: May 15, 2024                           Respectfully submitted.

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DEFENSE LEAGUE                           ASSOCIATION, AND VIRGINIA CITIZENS
*Admission to NDTX pending               DEFENSE LEAGUE




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                                    CERTIFICATE OF CONFERENCE

               I hereby certify that on May 15, 2024, I conferred with counsel for Plaintiffs, via

email regarding this Motion. Plaintiffs do not oppose the requested extension.

                                                    /s/ Garrett Greene
                                                    Garrett Greene

                                       CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on May 15, 2024 and that all counsel of record were served by CM/ECF.

                                                    /s/ Garrett Greene
                                                    Garrett Greene




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